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1                                                                               Judge Pechman

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7                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE
     UNITED STATES OF AMERICA,                    )
9                                                 )
                                                  ) NO. CR03-311P
10                                  Plaintiff,    )
                 v.                               ) STIPULATED ORDER ON
11                                                ) CONTINUANCE OF TRIAL
                                                  ) AND PRETRIAL MOTIONS
12   GONZALO HENAO-EUSSE,                         ) DEADLINE
                                                  )
13                                  Defendant. )
     __________________________________________ )
14
             It is hereby stipulated by the defendant Gonzalo Henao-Eusse, through his attorney Robert
15
     Goldsmith, and the plaintiff United States of America, through Assistant United States Attorney Todd
16
     Greenberg, that it is in the interest of justice to continue the trial date to August 1, 2005, or such date as the
17
     court orders, and to extend the pretrial motions deadline from May 19, 2005, to July 11, 2005.
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     This stipulation is made on the following grounds that this case has a large volume of material to review, a
19
     trial transcript to order and review, and since both parties agree this continuance is in order:
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             THIS COURT FINDS, pursuant to, 18 U.S.C. § 3161 (h)(8)(A), that the ends of justice will best
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     be served by a continuance, and that they outweigh the best interests of the public and the defendant in a
22
     speedy trial and that the defendant has waived his Speedy Trial Act rights;
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             FURTHER THIS COURT FINDS, pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv) that the failure to
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     grant would result in a miscarriage of justice and would deny counsel for the defendant the reasonable time
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     necessary for effective preparation, taking into account the exercise of due diligence,
26

27   ORDER - 1


28                                                                                          ROBERT W. GOLDSMITH
                                                                                              Attorney at law
                                                                                              705 Second Ave.
                                                                                            Seattle, WA 98104
                                                                                               (206) 623-2800
            Case 2:03-cr-00311-MJP           Document 513         Filed 06/23/05        Page 2 of 3



1           IT IS HEREBY ORDERED that the pretrial motions deadline will be extended to July 7, 2005, and
2    that the trial in this matter will be continued from June 27, 2005, until August 15, 2005, and the period of
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     delay from June 27, 2005, to August 30, 2005 is excluded in computing the time within which the trial must
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     commence, pursuant to 18 U.S.C. § 3161 (h)(8)(A).
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                     DONE this 23rd day of June, 2005.
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9                                                           /s/ Marsha J. Pechman
                                                            U.S. District Court Judge
10

11
     Presented By:
12

13

14   S/__________________________                                   S/____________________________
     Robert Goldsmith                                               Todd Greenberg
15   Attorney for Defendant                                         Ass’t U.S. Attorney
     Email: bobgoldsmith@hotmail.com                                Email: Todd.Greenberg4@usdoj.gov
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27   ORDER - 2


28                                                                                      ROBERT W. GOLDSMITH
                                                                                          Attorney at law
                                                                                          705 Second Ave.
                                                                                        Seattle, WA 98104
                                                                                           (206) 623-2800
            Case 2:03-cr-00311-MJP            Document 513         Filed 06/23/05        Page 3 of 3



1                                          CERTIFICATE OF SERVICE

2           I hereby certify that on the 22nd day of June, 2005, I electronically filed the foregoing with the
3    Clerk of the Court using the CM/ECF system. Notice of this filing will be sent electronically to Todd
4
     Greenberg, Assistant U.S. Attorney, counsel of record for the Government.
5

6

7    DATED this 22nd day of June, 2005.
8

9
                                                     _/s/ R. Goldsmith_____________
10                                                   Robert Goldsmith,WSBA # 12265
                                                     Email: Bobgoldsmith2@juno.com
11                                                   Attorney for defendant

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27   ORDER - 3


28                                                                                        ROBERT W. GOLDSMITH
                                                                                            Attorney at law
                                                                                            705 Second Ave.
                                                                                          Seattle, WA 98104
                                                                                             (206) 623-2800
